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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

 DERRICK SINDORF,
        Plaintiff,
 vs.
                                             Case No.: 2:21-cv-00483
 PROGRESSIVE AUTO CENTER,
 INC., and MICHAEL KELLY,
 Individually,
        Defendants.

             COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, DERRICK SINDORF (“SINDORF” or “Plaintiff”) sues

Defendants, PROGRESSIVE AUTO CENTER, INC., (“PROGRESSIVE”), and

MICHAEL KELLY (“KELLY”), individually, (collectively referred to as

“Defendants”) and states:

                             NATURE OF ACTION

1.     This action is for unpaid overtime compensation arising under the Fair Labor
       Standards Act of 1938, 29 U.S.C. §§ 201-219 (“FLSA”).
                                      PARTIES

2.     At all times material hereto, Plaintiff was a resident of Collier County,
       Florida, in the Middle District of Florida.

3.     Defendant PROGRESSIVE was, and continues to be, a Florida Corporation
       engaged in the transaction of business in Collier County, Florida, with its
       principal place of business located in Marco Island, Florida.
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4.    Upon information and belief, at all times material to this action, Defendant
      KELLY was and continues to be, a resident of Collier County, Florida.
                        JURISDICTION AND VENUE

5.    Plaintiff brings this action under the Fair Labor Standards Act, 29 U.S.C. §
      216(b). Thus, the Court has subject matter jurisdiction under 28 U.S.C. §1331.

6.    Defendant PROGRESSIVE is engaged in the business automotive repair.
      Defendant PROGRESSIVE’s principal place of business is 720 Bald Eagle
      Dr., Marco Island, FL 34145. Defendant’s business activities within this
      judicial district are substantial and not isolated.

7.    Individual Defendant KELLY resides in the Middle District of Florida and is
      the owner of the corporate Defendant PROGRESSIVE.

8.    The Middle District of Florida is the proper venue for this action because
      Defendants reside in the judicial district, and the events giving rise to the claim
      occurred in the judicial district.
                                FLSA COVERAGE
Enterprise Coverage

9.    At all times material to this action, within the meaning of the FLSA,
      Defendants were Plaintiff’s “employers,” and Plaintiff was an “employee” of
      Defendants.

10.   At all times material, Defendants employed at least two or more employees
      who handled, sold, or otherwise worked with goods or materials that had once
      moved through interstate commerce.

11.   At all times material, Defendants had gross sales volume of at least $500,000
      annually.


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12.   At all times material, Defendants have and continue to be an “enterprise
      engaged in commerce” within the meaning of the FLSA.
Individual Coverage

13.   At all times material hereto, Plaintiff was “engaged in commerce” and is
      subject to individual coverage under the FLSA in that:

      a. The products and materials that Plaintiff used on a regular and recurrent
         basis, which were supplied to him by his employers to use on the job,
         moved through interstate commerce; and

      b. Plaintiff regularly received and used components and parts from out-of-
         state suppliers, and used those components and parts in installations for the
         customers’ vehicles. Plaintiff also regularly communicated with out-of-state
         customers, prospective customers, vendors, and suppliers to further
         Defendants’ business purposes.

14.   At all times material hereto, the work performed by the Plaintiff was essential
      to the business conducted by Defendants.
Individual Liability – Defendant KELLY

15.   At all times material, Defendant KELLY was the President and owner of
      Defendant PROGRESSIVE.

16.   At all times material, Defendant KELLY regularly held and/or exercised the
      authority to hire and fire employees of Defendant PROGRESSIVE, and to
      determine the work schedules for the employees of the company. Defendant
      KELLY also held and exercised the authority to control the finances and
      operations of Defendant PROGRESSIVE.




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17.   By virtue of having held and/or exercised the authority to: (a) hire and fire
      employees of PROGRESSIVE; (b) determine the work schedules for the
      employees of PROGRESSIVE; and (c) control the finances and operations of
      PROGRESSIVE, Defendant KELLY, is an employer as defined by 29 U.S.C.
      §201 et. seq.
                  STATEMENT OF CLAIM
                         COUNT I –
       VIOLATION OF 29 U.S.C. § 207 (UNPAID OVERTIME)

18.   Plaintiff realleges Paragraphs 1 through 17 as if fully stated herein.

19.   Defendants hired Plaintiff in or around December 2017.

20.   Plaintiff’s employment ceased on or around May 26, 2021.

21.   Plaintiff was an automotive technician. His primary duties were to service,
      repair, and customize customer vehicles.

22.   While employed, Plaintiff was paid on an hourly basis.

23.   Beginning at the time he was hired and continuing through his separation,
      Plaintiff worked hours and workweeks in excess of forty (40) per week for
      which he was not compensated at the statutory rate of time and one-half the
      regular rate for all hours actually worked.

24.   Plaintiff is entitled to be paid at the rate of time and one-half his regular hourly
      rate for all hours worked in excess of the maximum hours provided for in the
      FLSA.

25.   Defendants failed to pay Plaintiff overtime compensation in the lawful
      amount for all hours worked in excess of the maximum hours provided for in
      the FLSA.


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26.   Defendants knew of and/or showed a willful disregard for the provisions of
      the FLSA as evidenced by Defendants’ failure to compensate Plaintiff at the
      statutory rate of time and one-half for the hours worked in excess of forty (40)
      hours per week when Defendants knew or should have known such was due.

27.   As a direct and proximate result of Defendants’ willful disregard of the FLSA,
      Plaintiff is also entitled to liquidated damages pursuant to the FLSA.

28.   Due to the unlawful acts of Defendants, Plaintiff has suffered damages in the
      form of unpaid overtime wages, plus liquidated damages in an equal amount.

29.   Plaintiff is entitled to an award of his reasonable attorney’s fees and costs
      pursuant to 29 U.S.C. § 216(b).
      WHEREFORE, Plaintiff respectfully requests that final judgment be entered

in his favor against Defendants as follows:

      a. Declaring that Defendants have violated the maximum hour provisions of
          29 U.S.C. § 207;

      b. Awarding Plaintiff overtime compensation in amounts according to proof;

      c. Awarding Plaintiff liquidated damages in an equal amount to unpaid
          overtime;

      d. Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this
          litigation pursuant to 29 U.S.C. § 216(b);

      e. Awarding Plaintiff post-judgment interest; and

      f. Ordering any other and further relief this Court deems to be just and
          proper.



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                                 JURY DEMAND
      Plaintiff demands trial by jury on all issues so triable as of right.

Dated: June 23, 2021
                                         Respectfully submitted,

                                         /s/ Jason L. Gunter
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